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         Nos. 23-1647; 23-1648; 23-1649; 23-1650; 23-1651; 23-1652

                                    IN THE
             United States Court of Appeals
                         FOR THE THIRD CIRCUIT


                        OI EUROPEAN GROUP, B.V.,
                                         Plaintiff-Appellee,
                                  -v-

                BOLIVARIAN REPUBLIC OF VENEZUELA,
                                        Defendant,

                    PETRÓLEOS DE VENEZUELA, S.A.,
                                        Intervenor-Appellant.

                       (caption continued on inside cover)

  On Appeal from the United States District Court for the District of Delaware
Misc. Nos. 19-mc-290; 20-mc-257; 21-mc-46; 21-mc-481; 22-mc-156; 22-mc-453
          The Honorable Leonard P. Stark, United States Circuit Judge

    APPELLANT’S RESPONSE TO EMERGENCY MOTION FOR
  RECONSIDERATION OF THIS COURT’S ADMINISTRATIVE STAY

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          NORTHROP GRUMMAN SHIP SYSTEMS, INC.,
                                  Plaintiff-Appellee,
                        -v-

  THE MINISTRY OF DEFENSE OF THE REPUBLIC OF VENEZUELA,
                                     Defendant,

                 PETRÓLEOS DE VENEZUELA, S.A.,
                                      Intervenor-Appellant.


      ACL1 INVESTMENTS LTD., ACL2 INVESTMENTS LTD.,
               and LDO (CAYMAN) XVIII LTD.,
                                     Plaintiffs-Appellees,
                           -v-

            BOLIVARIAN REPUBLIC OF VENEZUELA,
                                     Defendant,

                 PETRÓLEOS DE VENEZUELA, S.A.,
                                      Intervenor-Appellant.


                    RUSORO MINING LIMITED,
                                       Plaintiff-Appellee,
                             -v-

            BOLIVARIAN REPUBLIC OF VENEZUELA,
                                     Defendant,

                 PETRÓLEOS DE VENEZUELA, S.A.,
                                      Intervenor-Appellant.


KOCH MINERALS SARL and KOCH NITROGEN INTERNATIONAL SARL,
                                    Plaintiffs-Appellees,
                           -v-

            BOLIVARIAN REPUBLIC OF VENEZUELA,
                                     Defendant,

                 PETRÓLEOS DE VENEZUELA, S.A.,
                                      Intervenor-Appellant.




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                     GOLD RESERVE INC.,
                                     Plaintiffs-Appellees,
                            -v-

           BOLIVARIAN REPUBLIC OF VENEZUELA,
                                    Defendant,

                PETRÓLEOS DE VENEZUELA, S.A.,
                                     Intervenor-Appellant.




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Third Circuit

LAR 26.1, Petróleos de Venezuela, S.A. (PDVSA) hereby discloses that PDVSA is

a Venezuelan corporation that is wholly owned by the Venezuelan government. No

publicly owned company not a party to this appeal has a financial interest in the

outcome of this litigation.




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      PDVSA respectfully submits this response to Appellees’ emergency motion

for reconsideration of this Court’s order, dated May 5, 2023 (the “Stay Order”),

staying the proceedings in six separate but related cases (the “Appealed Cases”) in

the U.S. District Court for the District of Delaware (the “District Court”) pending

this Court’s disposition of PDVSA’s above-captioned consolidated appeals.

                                   INTRODUCTION

      Appellees’ motion for reconsideration of this Court’s Stay Order is based

entirely on their assertion that a license issued by OFAC on May 1, 2023 (the

“May 1 License”) constitutes “new” evidence. But reconsideration based on new

evidence is only appropriate where the party seeking reconsideration could not

have discovered such evidence prior to entry of the order at issue. Here, Appellees

admit that they were aware of the May 1 License before this Court entered the Stay

Order. Appellees thus could have apprised this Court of the May 1 License, but

they did not.

      Furthermore, as Appellees acknowledge, reconsideration is not appropriate

where the motion for reconsideration repeats the same arguments made in the prior

motion papers. But that is exactly what Appellees do in their motion. In their

opposition briefs, Appellees argued that they would be prejudiced if the stay was

granted because other creditors would be able to serve their writs of attachments

and gain priority over Appellees in light of new guidance issued by OFAC on



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May 1, 2023. Appellees repeat the exact same arguments in their reconsideration

motion and point to the May 1 License as additional support. Accordingly, the

May 1 License is merely cumulative and does not constitute new material evidence

warranting reconsideration.1

      Appellees’ request for emergency reconsideration is further undermined by

their own inaction. Appellees learned of the May 1 License at approximately

4 p.m. on May 4 – about a full day before this Court issued the Stay Order and

nearly a week before they sought reconsideration of that Order. Moreover, if

Appellees truly believed that they will be prejudiced if other creditors are able to

serve their writs of attachment and gain priority over Appellees during the stay,

Appellees should have sought relief in the first instance in the District Court. Even

before the Stay Order was entered, third party creditors, such as ConocoPhillips

and Red Tree, had already filed motions, based on the May 1 OFAC guidance, to

serve writs of attachment and argued that they were entitled to priority over

Appellees. Yet, Appellees did not seek to hold these cases in abeyance – even

when ConocoPhillips and Red Tree reiterated their positions in a joint status report

filed in the Appealed Cases.



1
  The May 1 License has no bearing on the analysis of most of the critical issues
raised in PDVSA’s Stay Motion, including the divestiture doctrine, PDVSA’s
likelihood of success on the merits, and the prejudice to PDVSA in the absence of
a stay.

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      Appellees have failed to show that any prejudice will result from continuing

the stay. Appellees have never disputed Red Tree and ConocoPhillips’ arguments

that they are entitled to priority over Appellees. Appellees have simply ignored

those creditors and their positions. Appellees’ claims that they might miss the

deadline to have their judgments designated as “Additional Judgments” under the

Sale Procedures Order entered in a separate related litigation, Crystallex Int’l Corp.

v. Bolivarian Republic of Venezuela, 17-mc-151-LPS, D.I. 481 (D. Del) (the

“Crystallex Sale Procedures Order”), are speculative, at best. No such deadline has

been entered,2 and Appellees have previously acknowledged that the deadline is

likely months away.

      Finally, Appellees’ motion for reconsideration of this Court’s Stay Order

should be denied in light of Appellees’ willful disregard of that Order. Despite the

fact that this Court stayed the District Court proceedings in the Appealed Cases,

Appellees have continued to make submissions in the District Court and have

advocated for moving forward with the attachment and execution of PDVSA’s

property to satisfy their judgments that had been entered solely against the

Bolivarian Republic of Venezuela (the “Republic”). Appellees have apparently

convinced the District Court, which has invited Appellees to participate and seek

2
 Per this Court’s order, PDVSA has submitted a letter today discussing the
pertinent deadlines under the Crystallex Sale Process Order and explaining that no
such deadlines have been set. See PDVSA’s Letter at 2-3.

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relief in cases that are not subject to the stay, such as Crystallex. Accordingly, this

Court should deny Appellees’ motion for reconsideration and clarify that

Appellees are not permitted to circumvent the stay by moving forward in

Crystallex or any other case.

                                     BACKGROUND

      Appellees hold judgments entered solely against the Republic and moved for

a writ of attachment fieri facias against PDVSA’s shares in PDVH on the theory

that PDVSA is the alter ego of the Republic and so those shares should be treated

as property of the Republic. PDVSA opposed the attachment motions on various

grounds, including, inter alia, (i) PDVSA and its assets are entitled to immunity

under the FSIA, 28 U.S.C. §§ 1604, 1609; (ii) PDVSA is separate from the

Republic under First Nat’l City Bank v. Banco Para El Comercio Exterior de

Cuba, 462 U.S. 611 (1983) (“Bancec”), and thus the Republic’s waiver of

immunity cannot be imputed to PDVSA or its assets; (iii) Federal Rule of Civil

Procedure 69(a) requires the application of Delaware law to the merits question of

whether PDVSA’s shares in PDVH can be executed upon to satisfy a judgment

against the Republic, and Appellees cannot show the fraud or similar injustice

required under Delaware law, and (iv) any attachment of PDVSA’s shares of

PDVH is prohibited under the Venezuelan Sanctions Regime.




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      On March 23, 2023, the District Court issued an Opinion and Order (the

“March 23 Order”) denying PDVSA’s immunity and holding that PDVSA was the

alter ego of the Republic under Bancec and thus that its assets were subject to

execution to satisfy judgments held by the Republic’s creditors, notwithstanding

the dictates of Rule 69. OI European Grp. B.V. v. Bolivarian Republic of

Venezuela, No. 19-290-LPS, 2023 U.S. Dist. LEXIS 49287 (D. Del. Mar. 23,

2023). The District Court also granted the attachment motions but conditioned the

issuance and service of the writs on OFAC granting the requisite licenses or lifting

the sanctions. Id. The March 23 Order directed the parties to submit a joint status

report stating their position on how the District Court should proceed and to appear

for a status conference on March 30, 2023. Id.

      The parties filed a joint status report on March 28, 2023. OIEG, 19-mc-290-

LPS, D.I. 133. Appellee ACL took the position that no further proceedings were

warranted in light of PDVSA’s anticipated appeal. Id. at 5. All of the other

Appellees took the position that their judgments should be added as “Additional

Judgments” under the Crystallex Sale Procedures Order. Id. at 3-8. PDVSA took

the position that the District Court would be divested of jurisdiction to proceed any

further upon PDVSA’s filing of its notices of appeal. Id. at 8-9.

      On March 30, 2023, the District Court held a status conference in the

Appealed Cases to discuss next steps. Other creditors, including Crystallex,



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ConocoPhillips and Red Tree, appeared and participated in the conference.

Appellees agreed to defer briefing on the issue of whether their judgments should

be added as Additional Judgments under the Crystallex Sale Procedures Order until

after April 30, 2023 when the Special Master in Crystallex was expected to submit

a supplemental report that might contain guidance from OFAC. See Hrg. Tr.,

OIEG, 19-mc-290-LPS, D.I. 137 at 11, 18, 38-43.

      On April 4, 2023, the District Court entered an Oral Order directing

Appellees to meet and confer and to “submit a joint status report with a proposed

briefing schedule regarding which judgments should be regarded as ‘Additional

Judgments’ under the Sale Procedures Order” within seven days of the Special

Master filing its Supplemental Report in Crystallex. OIEG, 19-mc-290-LPS, D.I.

134. That order also directed Appellees to include the views of the Sale Process

Parties (which includes Crystallex and ConocoPhillips) and Red Tree in the joint

status report.

      On April 6, 2023, PDVSA filed timely notices of appeal and concurrently

filed a motion in the District Court for an order recognizing that the court was

divested of jurisdiction or, alternatively, for an unconditional stay pending

PDVSA’s appeals. OIEG, 19-mc-290-LPS, D.I. 135, 136.

      On April 28, 2023, before the District Court ruled on PDVSA’s stay motion,

the Special Master filed his Supplemental Report. Crystallex, No. 17-mc-151-LPS,



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D.I. 553. In that report, the Special Master recommended setting a date as early as

June 5, 2023 as the “Preparation Launch Date” and setting September 5, 2023 as

the “Launch Date.”3 Id. at 3. Attached to the Supplemental Report was a letter

from the U.S. Department of Justice, stating that “[w]hile the United States

Government does not necessarily agree with the [District] Court’s construction of

OFAC’s regulations and authorities” with respect to the prefatory steps allowed

before a sale can occur, the U.S. government would not take enforcement action

against any party for participating in or complying with the Sale Procedures Order

entered in Crystallex. No. 17-mc-151-LPS, D.I. 553-1 at 1-2.

      Later that evening, on April 28, the District Court denied PDVSA’s stay

motion. See OIEG, 19-mc-290, D.I. 146.

      On May 1, 2023, at 2:30 a.m., ConocoPhillips filed a motion in the District

Court for the issuance and service of writs of attachment, arguing that the letter

appended to the Special Master’s report reflected a change in the Venezuelan

Sanctions Regime and that attachments of the PDVH shares were no longer

prohibited. See ConocoPhillips Gulf of Paria B.V. v. Petróleos de Venezuela, S.A.,

(“ConocoPhillips”), 22-mc-0264-LPS, D.I. 23 (May 1, 2023). ConocoPhillips

took the position that, because it holds judgments against PDVSA (not the

Republic) and obtained orders granting conditional writs of attachment prior to the
3
 Per this Court’s order, PDVSA has submitted a letter today discussing the
pertinent deadlines and prefatory steps under the Crystallex Sale Process Order.

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March 23 Order, its writs of attachment should be served before any writs are

served on behalf of Appellees on the grounds that ConocoPhillips should have

priority over Appellees. Id.

       Later that same day, May 1, OFAC issued new guidance on the Venezuelan

Sanctions Regime. OFAC’s guidance reiterates that the U.S. government would

not take enforcement action against any party for participating in or complying

with the Crystallex Sale Procedures Order and states that “creditors may file for

writs of attachment without the need for OFAC authorization for matters involving

property blocked under the VSR.” OFAC FAQ Nos. 808, 1123, available at

https://ofac.treasury.gov/faqs/topic/1581.

       Also on May 1, OFAC issued the May 1 License to the Clerk of the District

Court authorizing “the issuance and service of a writ of attachment fieri facias for

any party named an ‘Additional Judgment Creditor’ by the [District] Court

pursuant to the [Crystallex] Sale Procedures Order.” OFAC License No.

VENEZUELA-EO13884-2023-1057131-1. That license was not made public until

the District Court disclosed it on May 4. Crystallex. No. 17-mc-151-LPS, D.I.

555.

       At approximately 5 p.m. on May 1, PDVSA filed its Emergency Stay

Motion in this Court. See, e.g., OIEG Appeal, 23-1647, D.I. 20. That Motion

argued that the District Court was divested of jurisdiction to move forward in these



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cases pending the outcome of the present appeals. Id. at 11-14. PDVSA further

argued that, even assuming the District Court retained jurisdiction, this Court

should nevertheless stay the proceedings in the District Court. Id. at 15-22.

PDVSA explicitly argued:

             If the District Court were to move forward in these cases,
             including by treating these judgments as Additional
             Judgments under the Sale Procedures Order or even
             requiring PDVSA to brief that issue, during the pendency
             of PDVSA’s appeals, each additional step would be an
             impermissible infringement on PDVSA’s presumptive
             immunity and would deny PDVSA the full benefits to
             which it is entitled under the FSIA. See Process & Indus.
             Devel. Ltd. v. Federal Republic of Nigeria, 962 F.3d 576,
             581, 584 (D.C. Cir. 2020); Kelly v. Syria Shell Petroleum
             Dev. B.V., 213 F.3d 841, 849 (5th Cir. 2000).

Id. at 14 (emphasis added). Because the District Court had already ordered the

parties to submit a joint status report in the Appealed Cases proposing a briefing

schedule on such matters by May 8, PDVSA filed its Stay Motion on an

emergency basis and requested the entry of a stay by May 5. This Court directed

Appellees to respond to PDVSA’s Stay Motion by May 4, 2023. See OIEG

Appeal, 23-1647, D.I. 21.

      On May 2, 2023, Red Tree filed a motion in the District Court for the

issuance and service of writs of attachment and argued that Red Tree was entitled

to have priority over Appellees. See Red Tree Investments LLC v. Petróleos de




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Venezuela, S.A., (“Red Tree”), No. 22-mc-0069-LPS, D.I. 28. Red Tree based its

motion on the OFAC guidance issued on May 1. Id.

      Pursuant to the District Court’s order, on May 3, 2023, counsel for

Appellees, ConocoPhillips, Red Tree, Crystallex, PDVSA, and the other

Venezuela Parties met and conferred to discuss briefing on designating judgments

as Additional Judgments under the Crystallex Sale Procedures Order. Counsel for

Appellees indicated that they were aware of the motions filed by ConocoPhillips

and Red Tree for the issuance and service of writs of attachment based on the new

OFAC guidance and the U.S. government’s letter appended to the Special Master’s

April 28 supplemental report.

      On May 4, 2023, at approximately 9 a.m., Appellees filed oppositions to

PDVSA’s Stay Motion in this Court. Appellees argued that they would be

prejudiced if this Court granted the stay because it would allow other creditors to

serve their writs of attachment during the stay and establish higher priority than

Appellees. See, e.g., OIEG Opp., No. 23-1647, D.I. 22 at 16-18. In support of

that argument, certain Appellees argued that new OFAC guidance issued on May 1

allowed creditors to serve writs of attachments and have their judgments added as

Additional Judgments under the Crystallex Sale Procedures Order. See Koch

Opp., No. 23-1651, D.I. 26 at 14-15; Huntington Opp., No. 23-1648, D.I. 21 at 14-

15; ACL Opp., No. 23-1649, D.I. 22 at 15-16. Appellees further argued that they



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could miss the deadline for having their judgments added to the Crystallex Sale

Procedure Order – although they acknowledged that deadline was still months

away. See, e.g., OIEG Opp., No. 23-1647, D.I. 22 at 17-18. Just hours after

Appellees filed their opposition briefs, PDVSA filed a reply brief. See, e.g.,

PDVSA Reply, No. 23-1647, D.I. 23.

      Later that same day, May 4, at approximately 4 p.m., the District Court

entered a memorandum and order in the Appealed Cases disclosing the May 1

License. See, e.g., OIEG, 19-mc-290-LPS, D.I. 147. Hours later, at approximately

8 p.m., Appellees circulated a draft of the joint status report due on May 8, 2023 in

which Appellees took the position that, in light of the May 1 License, there were

no obstacles to adding their judgments as Additional Judgments under the

Crystallex Sale Procedures Order. However, Appellees did not notify this Court of

the May 1 License.

      At approximately 1 p.m. on May 5, 2023, this Court entered the Stay Order

referring PDVSA’s Stay Motion to the merits panel and administratively staying

the proceedings in the District Court pending further order of this Court. See, e.g.,

Stay Order, No. 23-1647, D.I. 24. The Stay Order further provides for an

expediated schedule for briefing the merits of the appeals. Id.

      Despite this Court’s Stay Order, Appellees insisted on filing a joint status

report in the Appealed Cases in the District Court on May 8, 2023. See, e.g.,



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OIEG, 19-mc-0290-LPS, D.I. 150. In that status report, Appellees took the

position that, in light of the May 1 License, the OFAC sanctions no longer

prohibited their judgments from being added as Additional Judgments under the

Crystallex Sale Procedures Order. Id. at 2-3. Appellees proposed briefing on

which judgments should be regarded as Additional Judgments and what procedures

should be implemented to address service of the writs of attachment and the

priority of the resulting liens on the PDVH shares. Id. at 3. Appellees proposed

filing their opening briefs on these issues either (i) 10 days after this Court’s stay is

lifted or (ii) 10 days after the “Preparation Launch Date” under the Crystallex Sale

Procedures Order – notwithstanding this Court’s Stay Order. Id. While the

Special Master had proposed June 5, 2023 as the Preparation Launch Date,

Appellees argued that the District Court should briefly delay the Preparation

Launch Date further into June 2023. Id. Appellees did not ask for any delay in

setting the “Launch Date” and appeared to agree with the Special Master’s

recommendation of setting September 5, 2023 as the Launch Date. Id. at 3.

      ConocoPhillips and Red Tree also submitted positions in the joint status

report. They reiterated their positions that their motions for issuance and service of

writs of attachment could be granted based on the May 1 OFAC guidance and that

their judgments could be added as Additional Judgments under the Crystallex Sale

Procedures Order. Id. at 4-5. ConocoPhillips and Red Tree further reiterated their



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arguments that they should have priority over the Appellees. Id. Appellees did

not address ConocoPhillips and Red Tree’s positions, much less ask the District

Court to hold those cases in abeyance.

      PDVSA took the position that no joint status report was due or permitted in

light of this Court’s Stay Order but nevertheless submitted a position under protest.

Id. at 6. PDVSA explained that the District Court’s order requesting the joint

status report was only filed in the Appealed Cases and that those cases were stayed.

Id. PDVSA further explained that it sought and obtained a stay from this Court on

an emergency basis to obtain relief prior to the deadline for the joint status report.

Id. Accordingly, PDVSA took the position that no further briefing can take place in

the Appealed Cases in view of this Court’s Stay Order. Id. at 7. Separately,

PDVSA took the position that the motions filed by ConocoPhillips and Red Tree

“are premature and also should be held in abeyance until the Third Circuit has

lifted the stay.” Id. at 6. PDVSA further argued that any briefing in the

ConocoPhillips and Red Tree cases “should be aligned with briefing in the

Appealed Cases.” Id. at 7.

      On May 10, 2023, the District Court entered an order in multiple cases,

including Crystallex, ConocoPhillips, Red Tree and the Appealed Cases,

requesting briefing and oral argument on a number of matters. See, e.g., OIEG,

19-mc-0290-LPS, D.I. 151. The District Court recognized that this Court had



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stayed the proceedings in the Appealed Cases. Id. at ¶ 2. However, even though

PDVSA explicitly sought and obtained the Stay Order to prevent any further

briefing in the Appealed Cases and reiterated that position in the May 8 status

report, the District Court concluded that this Court’s Stay Order did not preclude

Appellees from submitting briefing and participating in proceedings that are not

stayed, such as Crystallex. Id. The District Court therefore invited Appellees to

participate in the briefing in Crystallex, even though they are not parties to that

action, and set forth a briefing schedule to address (i) which judgments should be

regarded as Additional Judgments under the Crystallex Sale Procedures Order; (ii)

whether to order service of any writs of attachment; and (iii) how to determine the

priority of any judgments. Id. at ¶ 3. The District Court’s briefing schedule

partially overlaps with the briefing schedule set by this Court in these appeals. Id.

at ¶ 4.

                  APPELLEES HAVE NO GROUNDS FOR
             RECONSIDERATION OF THIS COURT’S STAY ORDER

          Relying on the standards for reconsideration under Fed. R. Civ. P. 59(e),

Appellees argue that the May 1 License constitutes “new evidence” warranting

reconsideration of this Court’s Stay Order. Mot. at 11. However, this Court has

repeatedly held that, in order to obtain reconsideration based on “new evidence,”

the party seeking reconsideration must demonstrate that the evidence was not

available at the time the court entered the order at issue. See Blystone v. Horn, 664

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F.3d 397, 415-16 (3d Cir. 2011) (reconsideration proper only where “new evidence

… was not available when the court granted the motion”) (emphasis original);

Howard Hess Dental Labs. Inc. v. Dentsply Int’l, Inc., 602 F.3d 237, 251-52 (3d

Cir. 2010) (same); Max's Seafood Cafe By Lou-Ann, Inc. v. Quinteros, 176 F. 3d

669, 677 (3d Cir. 1999) (same); see also OR v. Hutner, 576 F. App’x 106, 110 (3d

Cir. 2014) (same). Furthermore, the new evidence must “be material and not

merely cumulative” such that it “would probably have changed the outcome.”

Compass Tech. v. Tseng Lab., 71 F.3d 1125, 1130 (3d Cir. 1995). The party

requesting reconsideration “bears a heavy burden.” Id. Appellees have not come

close to satisfying that heavy burden.

      The May 1 License is not new evidence. Appellees were aware of the May 1

License by approximately 4 p.m. on May 4 and thus nearly a full day before this

Court granted PDVSA’s Emergency Stay Motion at approximately 1 p.m. on May

5. Appellees could have (and if they really thought it so material, should have)

submitted a letter pursuant to Fed. R. App. P. 28(j) to apprise this Court of the May

1 License before this Court entered the Stay Order. Appellees failed to do so.

Appellees cannot ask this Court for reconsideration based on supposedly “new”

evidence that Appellees admittedly knew about, but failed to raise, before the

Court entered its Stay Order.

      In addition, as Appellees acknowledge, reconsideration should be denied



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“where [the] motion for reconsideration merely advance[s] the same arguments

made in … prior motions.” Mot. at 11 (citing Lazaridis v. Wehmer, 591 F.3d 666,

669 (3d Cir. 2010)). That is the case here. Appellees’ motion for reconsideration

merely rehashes the same arguments raised in their oppositions to PDVSA’s Stay

Motion. In opposing PDVSA’s stay motion, Appellees argued that the May 1

OFAC guidance reflected a change in the Venezuelan Sanctions Regime that

removed the prior prohibitions on the issuance and service of writs of attachment

in the absence of a license. See, e.g., Koch Opp., No. 23-1651, D.I. 26 at 14-15.

Appellees argued that granting the stay would prejudice them by preventing them

from asking the District Court to order the issuance and service of their writs of

attachment based on the changes reflected in the May 1 OFAC guidance. See id.

Appellees further argued that, if a stay were granted, other creditors, such as

ConocoPhillips and Red Tree, would be free to rely on the new OFAC guidance to

obtain the issuance and service of writs of attachment and thereby obtain priority

over Appellees. See id.; see also Huntington Opp., No. 23-1648, D.I. 24 at 14-15;

ACL Opp., No. 23-1649, D.I. 22 at 15-16; OIEG Opp., No. 23-1647, D.I. 22 at 16-

17. Appellees’ motion for reconsideration makes the same exact arguments that a

stay will prejudice them based on changes to the Venezuelan Sanctions Regime –

except their motion now relies on the May 1 License as additional evidence to

support their prior arguments that the Venezuelan Sanctions Regime no longer



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prohibits the issuance and service of writs of attachment. Mot. at 2-3, 12-13.

Thus, the May 1 License is, at best, cumulative and does not constitute new

material evidence warranting reconsideration of the Stay Order. See Compass

Tech., 71 F.3d at 1130.4

      If Appellees truly believed that they would be prejudiced if other judgment

creditors, such as ConocoPhillips and Red Tree, were able to rely on the May 1

License to obtain the issuance and service of writs of attachment during the stay,

then they should have sought relief in the first instance from the District Court.

While Appellees were aware that ConocoPhillips and Red Tree had pending

motions seeking the issuance and service of writs of attachments and priority over

Appellees before this Court entered the Stay Order, Appellees have never asked the

District Court to hold those motions in abeyance. Because all of the related

creditor actions are pending in the District Court, the District Court would have the

authority to set a schedule that aligned the Appealed Cases with the other creditor

actions. Had Appellees sought and been granted such relief, it would have avoided

any prejudice to Appellees and would have avoided any further infringement on

PDVSA’s immunity under the FSIA. But Appellees have not sought any such

relief in the District Court. Even when ConocoPhillips and Red Tree reiterated

4
 The fact that Appellees have known about the May 1 License since May 4 and
waited nearly a week before bringing their motion for reconsideration belies any
notion that the May 1 License constitutes game-changing material new evidence.

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their positions in the May 8 status report, Appellees simply ignored those positions

and did not ask the District Court to take any action with respect to

ConocoPhillips, Red Tree, or any other judgment creditors. Having failed to ask

the District Court for relief in the first instance, Appellees should not be heard that

this Court lift the stay based on the actions of ConocoPhillips, Red Tree, or any

other creditors.

      Moreover, this is not an urgent matter. Appellees’ suggestion that they

might miss the “window” for having their judgments added to the Crystallex sales

process is speculative, at best. The Crystallex Sale Procedures Order provides that

the deadline for designating Additional Judgments is 10 days after the “Launch

Date.” See Crystallex, 17-mc-151-LPS, D.I. 481 at ¶ 30. While the Special Master

has proposed September 5, 2023 as the Launch Date, that is just a proposal. See

Crystallex, 17-mc-151-LPS, D.I. 553 at 3-4. The actual Launch Date likely will be

later, for the reasons explained in PDVSA’s Letter at 2. Particularly given the

expedited schedule for these appeals, Appellees’ claims of harm are merely

speculative.

      Finally, Appellees’ motion for reconsideration of the Stay Order should be

denied in view of the fact this Court’s Order is already being violated. Appellees

have suggested, and the District Court has adopted, that the District Court can

move forward with additional briefing notwithstanding the Stay Order. The



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District Court did so by inviting Appellees to seek relief in the Crystallex action, in

which Appellees are not parties and which is not subject to this Court’s Stay Order.

See, e.g., OIEG, 19-mc-0290-LPS, D.I. 151 at ¶ 2. Appellees’ actions, and the

District Court’s resulting order, have deprived PDVSA of the very relief that it

sought and obtained from this Court – relief from having to defend against the

results of the very order which is now on appeal. Accordingly, PDVSA requests

that this Court not only deny Appellees’ motion for reconsideration but clarify that

Appellees cannot circumvent the Stay Order by participating in other proceedings

before the District Court to enforce the order that is on appeal.

                                  CONCLUSION

      For these reasons, this Court should deny Appellees’ motion for

reconsideration and clarify that this Court’s Order prohibits Appellees from

participating in other proceedings before the District Court.

                                         Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of May, 2023, I caused a copy of the

foregoing opposition brief to be filed electronically with the United States Court of

Appeals for the Third Circuit via the Court’s Electronic Filing System, and to be

served electronically upon all counsel of record through that system.

                 CERTIFICATION OF BAR MEMBERSHIP

      This brief complies with Local Appellate Rule 28.3(d) because at least one

of the attorneys whose names appear on the brief, including Joseph D. Pizzurro, is

a member in good standing of the bar of this Court.

          CERTIFICATION OF COMPLIANCE WITH RULE 27(d)

      Pursuant to FRAP 32(g)(1), I hereby certify that this brief complies with the

word limitation set forth in FRAP 27(d)(2)(A) because it does not exceed 5,200

words. This brief also complies with the typeface requirement of FRAP 32(a)(5)

and the type style requirements of FRAP 32(a)(6) pursuant to FRAP 27(d)(1)(E)

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                                        s/ Joseph D. Pizzurro
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